

People v Santana (2021 NY Slip Op 00270)





People v Santana


2021 NY Slip Op 00270


Decided on January 19, 2021


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: January 19, 2021

Before: Webber, J.P., Mazzarelli, González, Scarpulla, Shulman, JJ. 


Ind No. 5330-14 Appeal No. 12888 Case No. 2019-3024 

[*1]The People of The State of New York, Respondent, 
vChristopher Santana, Defendant-Appellant.


Stephen Chu, Interim Attorney-in-Charge, Office of The Appellate Defender, New York (Gabe Newland of counsel), for appellant.
Cyrus R. Vance, Jr., District Attorney, New York (Michael J. Yetter of counsel), for respondent.



Judgment, Supreme Court, New York County (Robert M. Stolz, J.), rendered August 10. 2016, convicting defendant, upon his plea of guilty, of attempted assault in the first degree, and sentencing him to a term of 10 years, unanimously modified, as a matter of discretion in the interest of justice, to the extent of reducing the prison component of the sentence to 9 years, and otherwise affirmed.
We find the sentence excessive to the extent indicated.
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: January 19, 2021








